             Case 1:22-cv-00373 Document 7 Filed 08/11/22 Page 1 of 4                                        PageID #: 31
 HID 007A (Rev. 02 /14) Motion to Appear Pro Hac Vice

                                                 UNITED STATES DISTRICT COURT
                                                                       for the
                                                                District of Hawaii

                                                                       )
CENTER FOR BIOLOGICAL DIVERSITY                                        )
                                                                       )                    1:22-cv-00373
                                                                                 Case No.
                              Plaintiff                                )
                                                                       )
                                v.                                     )
DEB HAALAND; U.S. FISH AND WILDLIFE                                    )
SERVICE; and MARTHA WILLIAMS                                           )
                              Defendant                                )
                                                                       )

                                MOTION TO APPEAR PRO HAC VICE
(Attach Declaration of Counsel in support of motion. $300.00 assessment required to be paid through Pay.gov.)

 Name of Attorney:                   Brian Segee
 Firm Name:                          Center for Biological Diversity
 Firm Address:                       660 S. Figueroa St., Suite 1000
                                     Los Angeles, CA 90017

 Attorney CM/ECF        bsegee@biologicaldiversity.org
 Primary email address:
 Firm Telephone:                     (805) 750-8852                              Firm Fax:
 Party Represented:                  Plaintiff


 Name/Address                        Maxx Phillips, Center for Biological Diversity
 of Local Counsel                    1188 Bishop Street, Suite 2412
                                     Honolulu, HI 96813

 Pursuant to LR 83.1(e) of the Local Rules of Practice for the United States District Court for the District of Hawaii, the undersigned
 applies for an order permitting the above-named attorney to appear and participate as counsel pro hac vice for the above-named
 party in all matters in the above-captioned case or proceeding. This request is based on the declaration of the attorney seeking to
 appear pro hac vice.


                                                                                        Maxx Phillips
               Dated:
               D t d                                      Si
                                                          Signature*
                                                               t *                              (Print name if original signature)



 *If this motion is being signed by local counsel on behalf of the applicant, the signature constitutes consent to the
 designation as associate counsel; otherwise such consent shall be filed separately.
                Case 1:22-cv-00373 Document 7 Filed 08/11/22 Page 2 of 4                               PageID #: 32
HID 007A (Rev.02 /14) Declaration of Counsel

                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                           District of Hawaii

CENTER FOR BIOLOGICAL DIVERSITY                  )
                                                 )
                      Plaintiff                  )                             Case No. 1:22-cv-00373
                                                 )
                         v.
                                                 )
DEB HAALAND; U.S. FISH AND WILDLIFE SERVICE; and )
MARTHA WILLIAMS
                                                 )
                     Defendant                   )
                                                 )


                                                     DECLARATION OF COUNSEL
                                                 (Attach to Motion to Appear Pro Hac Vice.)

 Name of Declarant: Brian Segee
 I am not a resident of the District of Hawaii, am not regularly employed in the District of Hawaii, and amnot regularly
 engaged in business, professional or law-related activities in the District of Hawaii, and that:

     1. The city and state of my residence and office address is:
         Los Angeles, California



     2. I have been admitted to practice in the following courts on the dates noted:
         District of Colorado (1999); Eastern District of California (2004); District of Columbia (2005); USCA 11th Circuit (2005);
         USCA 9th Circuit (2007); Northern District of California (2008); USCA Veterans Claims (2011); Central District of
         California (2012)


     3. I am in good standing and eligible to practice in the following courts (declarant may state “All of the courts
        identified in paragraph 2"):
         All of the courts identified in paragraph 2.




     4. I (a) am not currently involved in disciplinary proceedings before any state bar, federal bar, or any equivalent;
        (b) have not in the past 10 years been suspended, disbarred, or otherwise subject to other disciplinary proceeding
        before any state bar, federal bar, or its equivalent; F have not been denied admission pro hac vice by any courtor
        agency in the past 10 years; and (d) have not been the subject of a criminal investigation knowQ to the attorneyor
        acriminal prosecution or conviction in any court in the past ten (10) years.
         Correct.
 Case 1:22-cv-00373 Document 7 Filed 08/11/22 Page 3 of 4   PageID #: 33




August 10, 2022
     Case 1:22-cv-00373 Document 7 Filed 08/11/22 Page 4 of 4                     PageID #: 34


                         IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF HAWAII

CENTER FOR BIOLOGICAL DIVERSITY
                                                      )      Case. No. 1:22-cv-00373
                                                      )
                                                      )      ORDER GRANTING MOTION TO
                  Plaintiff,                          )      APPEAR PRO HAC VICE AS TO
                                                      )      Brian Segee
                                                             ____________________________
                         vs.                          )
                                                      )
DEB HAALAND; U.S. FISH AND WILDLIFE
SERVICE; and MARTHA WILLIAMS                          )
                                                      )
           Defendant.                                 )
 ______________________________                       )

                                ORDER GRANTING MOTION
                                TO APPEAR PRO HAC VICE

                                       Brian Segee
        The Court GRANTS the Motion of ___________________________ to
 Appear Pro Hac Vice.

  Name of Attorney:        Brian Segee
  Firm Name:               Center for Biological Diversity
  Firm Address:            660 S. Figueroa St., Suite 1000
                           Los Angeles, CA 90017

  Attorney CM/ECF
  Primary email address: bsegee@biologicaldiversity.org

  Firm Telephone:          (805) 750-8852
  Party Represented        Plaintiff




        IT IS SO ORDERED.
        DATED: Honolulu, Hawaii, ___________________________________
